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PROB 12A
(6/21)

                               United States District Court
                                           for
                                 District of New Jersey
                         Report on Individual Under Supervision
his
Name of Individual Under Supervision: Warren Moore                                    Cr.: 23-00832-001
                                                                                       PACTS #: 38210

Name of Sentencing Judicial Officer:    THE HONORABLE CHRISTINE P. O'HEARN
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 04/11/2016

Original Offense:   Count One: Conspiracy, 18 U.S.C. § 371, a Class D Felony
                    Count Two: Bank Fraud; Aiding and Abetting, 18 U.S.C. § 1344, 18 U.S.C. § 2, a
                    Class B Felony
                    Count Five: Bank Fraud; Aiding and Abetting, 18 U.S.C. § 1344, 18 U.S.C. § 2, a
                    Class B Felony
                    Count Ten: Aggravated Identity Theft; Aiding and Abetting, 18 U.S.C. §§
                    1028A(a)(1), and 2, a Class E Felony
                    Count Eleven: Use of Counterfeit and Unauthorized Access Devices; Aiding and
                    Abetting 18 U.S.C. § 1029(a)(2), 18 U.S.C § 2, a Class C Felony
                    Count Thirteen: Use of Counterfeit and Unauthorized Access Devices; Aiding and
                    Abetting 18 U.S.C. § 1029(a)(2), 18 U.S.C § 2, a Class C Felony

Original Sentence: 75 months imprisonment, 5 years supervised release (the judgement in this case was
amended on 7/10/2017 to change the supervised release term to 3 years).

Special Conditions: Restitution - $93,693.00, Special Assessment- $600.00, Financial Disclosure, No
New Debt/Credit

Type of Supervision: Supervised Release                       Date Supervision Commenced: 03/08/2023

                                NONCOMPLIANCE SUMMARY

The individual under supervision has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

  1                   The individual under supervision has violated the mandatory supervision
                      condition which states 'You must make restitution in accordance with 18
                      U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.'
                      Mr. Moore was ordered to pay $96,693.00 in restitution prior to the scheduled
                      expiration of supervised release on March 7, 2026. Additionally, The Court
                      ordered Mr. Moore to make monthly payments towards his court financial
                      obligations in the amount of $100.00. To date, Mr. Moore has not made any
                      payments towards his outstanding restitution.
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                                                                                            Warren Moore


  2                    The individual under supervision has violated the mandatory supervision
                       condition which states 'You must pay the assessment imposed in accordance
                       with 18 U.S.C. § 3013.'
                       Mr. Moore has paid $50.00 towards his mandatory special assessment and has
                       an outstanding balance of $550.00.


U.S. Probation Officer Action:
The U.S Probation Office recommends no formal action be taken at this time. The undersigned officer will
attempt to achieve a level of compliance prior to expiration and update the Court if any further action is
deemed necessary. Previously, Mr. Moore was verbally reprimanded for his lack of consistent payments.
We are requesting that this report, once signed by Your Honor, serve as a written reprimand to Mr. Moore
for not paying his outstanding restitution consistently.

                                                         Respectfully submitted,

                                                         SUSAN M. SMALLEY, Chief
                                                         U.S. Probation Officer




                                                          By:   LUKE N. WALKER
                                                                U.S. Probation Officer
/ lnw

APPROVED:


                        9/19/2024
STEVEN ALFREY                      Date
Supervising U.S. Probation Officer

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

   No Formal Court Action to be Taken at This Time. This Report to Serve as a Written Judicial
   Reprimand (as recommended by the Probation Office)
   Submit a Request for Modifying the Conditions or Term of Supervision
   Submit a Request for Warrant or Summons
   Other



                                                                 Signature of Judicial Officer


                                                                          9/20/24
                                                                             Date
